Case:17-03283-LTS Doc#:21635-3 Filed:07/28/22 Entered:07/28/22 11:19:39   Desc:
                 Exhibit C - Party Exhibit Cover Sheet Page 1 of 2




                                 EXHIBIT C
Case:17-03283-LTS Doc#:21635-3 Filed:07/28/22 Entered:07/28/22 11:19:39                                             Desc:
                 Exhibit C - Party Exhibit Cover Sheet Page 2 of 2



                                                     EXHIBIT C

                                          PARTY EXHIBIT COVER SHEET1

    Name of Party                                    Assured Guaranty Corp. and Assured
                                                     Guaranty Municipal Corp. (the “Assured
                                                     Entities”)
    Does the Party intend to offer evidence?                        Yes (as needed)
    Docket Entry No. for Party Exhibit List             21608 in 17-3283 and 1294 in 17-3567
    Exhibit Identifier       Docket Entry No. of Is there a pending request to seal this Exhibit?
                                     Exhibit
     Assured’s Exhibit 1        21608-1/1294-1                            No
     Assured’s Exhibit 2        21608-2/1294-2                            No
     Assured’s Exhibit 3        21608-3/1294-3                            No
     Assured’s Exhibit 4        21608-4/1294-4                            No
     Assured’s Exhibit 5        21608-5/1294-5                            No
     Assured’s Exhibit 6        21608-6/1294-6                            No
     Assured’s Exhibit 7        21608-7/1294-7                            No
     Assured’s Exhibit 8        21608-8/1294-8                            No
     Assured’s Exhibit 9        21608-9/1294-9                            No
     Assured’s Exhibit 10     21608-10/1294-10                            No
     Assured’s Exhibit 11     21608-11/1294-11                            No
     Assured’s Exhibit 12     21608-12/1294-12                            No
     Assured’s Exhibit 13     21608-13/1294-13                            No
     Assured’s Exhibit 14     21608-14/1294-14                            No
     Assured’s Exhibit 15     21608-15/1294-15                            No
     Assured’s Exhibit 16     21608-16/1294-16                            No
     Assured’s Exhibit 17     21608-17/1294-17                            No
     Assured’s Exhibit 18     21608-18/1294-18                            No
     Assured’s Exhibit 19     21608-19/1294-19                            No
     Assured’s Exhibit 20     21608-20/1294-20                            No
     Assured’s Exhibit 21     21608-21/1294-21                            No
     Assured’s Exhibit 22     21608-22/1294-22                            No
     Assured’s Exhibit 23     21608-23/1294-23                            No
     Assured’s Exhibit 24     21608-24/1294-24                            No
    Pursuant to Bankruptcy Local Rule 9037-1(a), parties and counsel are solely responsible for
    redacting the personal identifiers enumerated in Fed. R. Bank. P. 9037(a).




1
  Assured reserves all rights, including the right to use exhibits identified on other parties’ exhibits lists, the right to
use additional exhibits for cross-examination or rebuttal if necessary, and the right to revise, amend, and/or supplement
this list, for reasons including but not limited to the confirmation hearing is adjourned or if the Plan is modified.
